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1      Plata, et al. v. Schwarzenegger, et al. (U.S.D.C., Northern Dist. of Cal., Case No. C01-
       1351 T.E.H.); Coleman, et al. v. Schwarzenegger, et al. (U.S.D.C., Eastern Dist. of
2      Cal., Case No. CIV S-90-0520) THREE-JUDGE COURT
3                                     PROOF OF SERVICE BY MAIL
4                 I declare that I am employed in the County of San Francisco, California. I am
5      over the age of eighteen years and not a party to the within cause; my business address is
       44 Montgomery Street, Suite 400, San Francisco, CA 94104. On August 1, 2008, I
6      served the enclosed:

7            PLAINTIFF INTERVENOR CALIFORNIA CORRECTIONAL PEACE OFFICERS’
8        ASSOCIATION’S LIST OF NON-EXPERT WITNESSES EXPECTED TO TESTIFY AT TRIAL

9      on the parties in said cause (listed below) by enclosing a true copy thereof in a sealed
10     envelope and, following ordinary business practices, said envelope was placed for mailing
       and collection (in the offices of Carroll, Burdick & McDonough LLP) in the appropriate
11     place for mail collected for deposit with the United States Postal Service. I am readily
       familiar with the Firm's practice for collection and processing of
12     correspondence/documents for mailing with the United States Postal Service and that said
       correspondence/documents are deposited with the United States Postal Service in the
13     ordinary course of business on the same day.

14     Fred D. Heather                                        Attorneys for Plaintiffs in Three-
       K & L Gates, LLP                                       Judge Court
15     55 Second Street, Suite 1700
       San Francisco, CA 94105
16
17                 I declare under penalty of perjury that the foregoing is true and correct, and
       that this declaration was executed on August 1, 2008, at San Francisco, California.
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20                                                   /s/ Carrie Y. Takahata
                                                     Carrie Y. Takahata
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       PROOF OF SERVICE
